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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                              EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
      Plaintiff,                      )     Case No. 1:20-cr-10048-STA
                                      )
v.                                    )
                                      )
JUSTIN COFFMAN,                       )
                                      )
      Defendant.                      )
_____________________________________________________________________

                     MOTION TO UNSEAL COMPLAINT
_____________________________________________________________________

   COMES NOW, the United States of America, by and through the undersigned

Assistant United States Attorney, Hillary L. Parham, and would respectfully move this

Honorable Court to unseal the Complaint in the instant matter.

   WHEREFORE, counsel for the United States respectfully moves this Honorable Court

to unseal the Complaint.



                                               Respectfully submitted,

                                               D. MICHAEL DUNAVANT
                                               United States Attorney



                                        By:    s/Hillary Lawler Parham
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